                                                          Entered on Docket
                                                          June 24, 2019
                                                          EDWARD J. EMMONS, CLERK
                                                          U.S. BANKRUPTCY COURT
                                                          NORTHERN DISTRICT OF CALIFORNIA



 1   Evan Livingstone, SBN 252008      Signed and Filed: June 24, 2019
     LAW OFFICE OF EVAN LIVINGSTONE
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     Santa Rosa CA 95404
 3   Phone: (707) 206-6570
                                       ________________________________________
     Fax: (707) 676-9112               DENNIS MONTALI
 4   Email: evanmlivingstone@gmail.com U.S. Bankruptcy Judge

 5   Attorney for Debtor Cesar Arturo Vargas Reyes

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 8                                UNITED STATES BANKRUPTCY COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10    In re:                                                     Case No. 15-10571
                                                                 Chapter  13
11    Cesar Arturo Vargas Reyes                                  ORDER CONFIRMING MODIFIED
                                                                 CHAPTER 13 PLAN
12               Debtor(s)                                       Judge:   Hon. Dennis Montali
      __________________________________/                        Date     Notice and Opportunity
13

14             Upon consideration of Debtor's MOTION TO MODIFY CHAPTER 13 PLAN filed with

15   the Court on April 6, 2019, and upon the representation of Debtor’s counsel that the application

16   was noticed to all creditors, and none objected with the exception of the Chapter 13 Trustee who

17   has withdrawn its objection and has affirmatively approved the application, therefore,

18             IT IS ORDERED that the MODIFIED CHAPTER 13 PLAN filed on April 6, 2019, is
19   confirmed;

20             IT IS FURTHER ORDERED, except insofar as inconsistent with anything above:

21             1. The modified plan payments are 36. Debtor shall make 36 payments in the amount of

22   $179.00.

23             2. Debtor’s Attorney’s fees are a total $500, all of which were paid prior to filing this

24   case. Debtor’s attorney shall receive no additional fees through the Chapter 13 Plan.

25                                           ** END OF ORDER **
     Approved as to Form and Content
26
27   /s/BRISA RAMIREZ
     Brisa Ramirez, Staff Attorney for
28   DAVID BURCHARD Chapter 13 Trustee
     Case: 15-10571         Doc# 67      Filed: 06/24/19     Entered: 06/24/19 12:11:14        Page 1 of 2
 1                                             COURT SERVICE LIST

 2   Acclaim Credit Technologies                            GMAC
     PO Box 3028                                            P.O. Box 380901
 3   Visalia, CA 93278-3028                                 Bloomington, MN 55438-0901

 4   Alliance Medical Center                                Healdsburg District Hospital
     1381 University Ave                                    1375 University Ave
 5   Healdsburg, CA 95448-3314                              Healdsburg, CA 95448-3382

 6   American InfoSource LP as agent for                    IRL Law Offices
     T Mobile/T-Mobile USA Inc                              PO Box 84060
     PO Box 248848                                          San Diego, CA 92138-4060
 7   Oklahoma City, OK 73124-8848
                                                            Jefferson Capital Systems LLC
 8   AmeriCredit Financial Services, Inc. dba GM            PO Box 7999
     P O Box 183853                                         Saint Cloud MN 56302-7999
 9   Arlington, TX 76096-3853
                                                            Midland Cred (Original Creditor: Cap
10   Arrow Fincl (Original Creditor:Hsbc                    8875 Aero Dr Suite 200
     8589 Aero Drive Suite 600                              San Diego, CA 92123-2255
11   San Diego, CA 92123
                                                            Midland Credit Management Inc
12   B-Line Inc, LLC                                        8875 Aero Dr Suite 200
     MS-550                                                 San Diego, CA 92123-2255
13   PO Box 91121
     Seattle, WA 98111-9221                                 NCO Fin/22 (Original Creditor: NCO A
14                                                          POB 4907
     Bank of America                                        Trenton, NJ 08650-4907
15   Po Box 1598
     Norfolk, VA 23501-1598                                 Office of the U.S. Trustee / SR
16                                                          Office of the United States Trustee
     Cap One                                                Phillip J. Burton Federal Building
17   PO Box 85520                                           450 Golden Gate Ave. 5th Fl., #05-0
     Richmond VA 23285                                      San Francisco, CA 94102-3661
18
     Capital Management Services                            Palisades Acquisition XVI, LLC
     726 Exchange, Ste 700                                  P.O. Box 40728
19   Buffalo, NY 14210-1464                                 Houston, TX 77240-0728
20   CBA (Original Creditor: 04 City Of S                   Santa Rosa Memorial Hospital - Billing
     25954 Eden Landing First Floor                         PO Box 4119
21   Hayward, CA 94545-3816                                 Santa Rosa, CA 95402-4119

22   David Burchard                                         Sonoma County Credit S (Original Cr
     P.O. Box 8059                                          2455 Bennett Valley Rd C
23   Foster City, CA 94404-8059                             Santa Rosa, CA 95404-5663

24   Diversified Credit                                     Stellar Recovery Inc.
     5567 Mayfield Road                                     1327 Highway 2 West, Suite 100
25   Cleveland, OH 44124-2927                               Kalispell, MT 59901-3413

26   Franchise Tax Board                                    True North
     Bankruptcy Section MS A340                             9 Commercial Blvd, Ste 201
27   P.O. Box 2952                                          Novato, CA 94949-6139
     Sacramento, CA 95812-2952
28

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